Case 1:23-cr-00254-GLR Document1 Filed 07/21/23 Paget of 2

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MLC/TFK: USAO#2023R00497
JUL 21 2023
IN THE UNITED STATES DISTRICT COURT —_ clerk ‘US bg EE coun
FOR THE DISTRICT OF MARYLAND BY SOSTICTOF MARYLAND oe,

UNITED STATES OF AMERICA a a
CRIMINALNO. GLK -ad-ORSY

v.
: Count One: 26 U.S.C. § 7206(1)
SUSAN K. PATRICK, :  (Willfully Making and Subscribing
: a False Tax Return)
Defendant.

...0000000...

INFORMATION

COUNT ONE
26 U.S.C. § 7206(1) — Willfully Making and Subscribing a False Tax Return

The United States Attorney for the District of Maryland charges:

On or about August 16, 2016, in the District of Maryland, the defendant SUSAN K.
PATRICK willfully made and subscribed, and filed and caused to be filed with the Internal
Revenue Service, a false Individual Income Tax Return, Form 1040, for calendar year 2013, which
was verified by a written declaration that it was made under the penalties of perjury and which
SUSAN K. PATRICK did not believe to be true and correct as to every material matter. That tax
return reported, on Line 22, that SUSAN K. PATRICK and her husband received total income of
-$773,163, whereas, as SUSAN K. PATRICK knew, she and her husband actually received total
income in the amount of approximately $4,316,488.

In violation of Tile 26, United States Code, Section 7206(1).

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Date: July 21, 2023

DAVID A. HUBBERT
Deputy Assistant Attorney General
U.S. Department of Justice, Tax Division

Digitally signed by MATTHEW

MATTHEW COFER corer

Date: 2023.07.21 09:16:31 -04'00'

Matthew L. Cofer

Trial Attorney

Thomas F. Koelbl

Assistant Chief

U.S. Department of Justice, Tax Division

